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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-01688-NYW-SBP

JOSHUA F. YOUNG,

       Plaintiff,

v.

COLORADO DEPARTMENT OF CORRECTIONS,
MOSES “ANDRE” STANCIL, and
JILL HUNSAKER RYAN,

       Defendants.


                                      FINAL JUDGMENT


       In accordance with the orders filed during the pendency of this case, and pursuant to Fed.

R. Civ. P. 58(a), the following Final Judgment is hereby entered.

       Pursuant to the Memorandum Opinion and Order entered by United States District Judge

Nina Y. Wang on January 27, 2025 [Doc. 58], it is

       ORDERED that Defendants’ Motion to Dismiss [Doc. 35] is GRANTED. It is

       FURTHER ORDERED that Plaintiff’s claims are DISMISSED with prejudice under

Rule 12(b)(6). It is

       FURTHER ORDERED that final judgment is hereby entered in favor of Defendants

Colorado Department of Corrections, Moses “Andre” Stancil, and Jill Hunsaker Ryan and

against Plaintiff Joshua F. Young. It is

       FURTHER ORDERED that Defendants shall have their costs by the filing of a Bill of

Costs with the Clerk of this Court within fourteen days of the entry of judgment, pursuant to Fed.

R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1. It is
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     FURTHER ORDERED that this case is terminated.

     Dated at Denver, Colorado this 27th day of January, 2025.

                                         FOR THE COURT:
                                         JEFFREY P. COLWELL, CLERK

                                         By: s/Emily Buchanan
                                         Emily Buchanan, Deputy Clerk
